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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff,
                                                          Case No. 09-20536
v.                                                        Honorable Thomas L. Ludington

OTIS GREEN,

                  Defendant.
______________________________________ /

            ORDER DENYING DEFENDANT’S MOTION TO CHANGE
     APPOINTED COUNSEL AND DENYING DEFENDANT’S MOTION TO DISMISS

       In November 2009, a grand jury in the Eastern District of Michigan returned a forty-nine-

count indictment against fifteen defendants accused of conspiring to distribute cocaine and

cocaine base near Bay City, Michigan, in violation of 21 U.S.C. §§ 841(a)(1) and 846. When the

grand jury issued a second superseding indictment on August 5, 2010, the alleged conspiracy

grew to include twenty-five defendants and fifty-eight criminal charges. ECF No. 182.

       One of these defendants, Otis Green, moved to dismiss the charges against him (ECF No.

521) and moved to change his appointed counsel (ECF No. 582). On March 29, 2012, a hearing

was held on the motion to dismiss and the motion to have counsel withdraw and have new

counsel appointed

       For the reasons stated on the record, it is ORDERED that Defendant Otis Green’s

motion to dismiss (ECF No. 521) is DENIED and that Defendant’s motion to change counsel

(ECF No. 582) is DENIED.

                                                   s/Thomas L. Ludington
                                                   THOMAS L. LUDINGTON
                                                   United States District Judge
Dated: March 30, 2012
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                                           PROOF OF SERVICE

                   The undersigned certifies that a copy of the foregoing order was served
                   upon each attorney or party of record herein by electronic means or first
                   class U.S. mail on March 30, 2012.

                                                     s/Tracy A. Jacobs
                                                     TRACY A. JACOBS
